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EXHIBIT 16
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favor of President-elect Biden. Of course, this is because no such evidence exists. But that is of no
consequence to you because you are resolutely uninterested in acknowledging the truth about these
issues.

       Despite your claims to the contrary, Dominion has no role in any sort of “deep-state
conspiracy” to steal votes and take control of the outcome of the recent presidential election. And
to avoid doubt, neither Dominion nor its software was created in Venezuela to rig elections for
Hugo Chavez; Dominion never bribed Georgia’s governor or secretary of state to obtain a no-bid
contract; and Dominion did not manipulate votes or try to destroy any evidence at any time.

       Ample documents in the public record conclusively disprove the damaging falsehoods that
you continue to peddle. For example:

    •   Maricopa County Board of Supervisors Chairman Clint Hickman, a Republican, stated
        there is "no evidence of fraud or misconduct.”2

    •   Arizona Secretary of State Katie Hobbs underscored these facts, explaining, “I cannot
        overstate how these pervasive, vague, and unsupported claims of election misconduct are
        undermining the foundation of our democracy. Facts matter in a court of law, and the facts
        remain that this historic election had tremendous turnout and was both secure and
        accurate.”3

    •   Every single vote can be audited with hand counts. Maricopa County's post-election hand
        count audit showed a 100% match with the counts from Dominion machines. And all
        Dominion machines underwent certification and logic and accuracy testing before the
        election, as mandated under Arizona Revised Statutes (A.R.S.) § 16-449.

    •   Gabriel Sterling, Georgia's Voting System Implementation Manager said,"I can guarantee
        that this is the most secure election in the state of Georgia."4

    •   Secretary of State Raffensperger has explained that there is no basis to claims that Dominion
        rigged the election, describing in detail Georgia officials’ “hand re-tallly, 100 percent re-tally




2
  Republican Maricopa County chairman says 'no evidence of fraud or misconduct' in presidential election, 12
News, (Nov. 17, 2020), available at www.wqad.com/article/news/politics/elections/maricopa-
county-chairman-says-no-evidence-of-fraud-or-misconduct-in-presidential-election/75-6aba1803-
850a-460f-8f86-b185a41f4708.
3
  Secretary Hobbs’s December 4, 2020 statement regarding false allegations against Dominion is
available at https://twitter.com/SecretaryHobbs/status/1335011027243524096?s=20.
4
  Georgia Sec of State Office holds press conference, News Channel Six, (Nov. 30, 2020, available at
https://www.wjbf.com/news/georgia-news/live-georgia-sec-of-state-office-holds-press-conference/.


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